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                       EXHIBIT 4
                         Report
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TSA PO In-Transit Report


POL
Dept.           ALL
Vendor          024362



 Vendor Name       POL     POL NAME     DC      CNTR #      PO #     DEPT #     FOB $        Booking     Cargo Rec.   Ship Date    ETD LOAD     Actual Sail      ETA       ETA First    Entry Filed     Ocean      Customs       Trucker     Cancel Date Container     PO
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 O2COOL LLC      CN-YAT     YANTIAN     820   OOLU0322508   315812    961     $49,980.00    12/25/2015   01/30/2016   01/11/2016   02/09/2016   02/10/2016    02/24/2016   03/07/2016                 02/16/2016                             03/04/2016

 O2COOL LLC      CN-YAT     YANTIAN     820   OOLU2897604   315812    961     $41,400.00    12/25/2015   01/25/2016   01/11/2016   02/09/2016   02/10/2016    02/24/2016   03/07/2016                 02/16/2016                             03/04/2016

 O2COOL LLC      CN-YAT     YANTIAN     841   OOLU1342751   315813    961     $58,470.00    12/25/2015   01/30/2016   01/11/2016   02/02/2016   02/02/2016    03/04/2016   03/11/2016                                                        03/04/2016

 O2COOL LLC      CN-YAT     YANTIAN     841   TCLU4706800   315813    961     $55,800.00    12/25/2015   01/15/2016   01/11/2016   01/26/2016   01/26/2016    02/26/2016   03/04/2016                 02/16/2016                             03/04/2016

 O2COOL LLC      CN-YAT     YANTIAN     843   ECMU4498389   315814    961     $55,560.00    12/25/2015   01/15/2016   01/11/2016   02/01/2016   02/02/2016    02/29/2016   03/03/2016                                                        03/04/2016

 O2COOL LLC      CN-YAT     YANTIAN     843   OOLU9451954   315814    961     $70,575.00    12/25/2015   01/28/2016   01/11/2016   02/09/2016   02/10/2016    02/24/2016   02/29/2016                 02/16/2016                             03/04/2016

 O2COOL LLC      CN-YAT     YANTIAN     845   TCLU4329311   315815    961     $105,675.00   12/25/2015   02/03/2016   01/11/2016   02/09/2016   02/10/2016    02/24/2016   02/29/2016                 02/16/2016                             03/04/2016

 O2COOL LLC      CN-YAT     YANTIAN     890   OOLU1556732   315816    961     $35,220.00    12/25/2015   01/25/2016   01/11/2016   01/31/2016   02/01/2016    02/16/2016   03/01/2016   02/17/2016    02/09/2016   02/18/2016   02/10/2016   03/04/2016

 O2COOL LLC      CN-YAT     YANTIAN     890   OOLU1814138   315816    961     $44,340.00    12/25/2015   01/28/2016   01/11/2016   01/31/2016   02/01/2016    02/16/2016   03/01/2016   02/17/2016    02/09/2016   02/18/2016   02/15/2016   03/04/2016
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                       EXHIBIT 5
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